STEVEN P. KELLY, ESQ.
STERN & EISENBERG, PC
1040 N. KINGS HIGHWAY, SUITE 407
CHERRY HILL, NJ 08034
TELEPHONE: (609) 397-9200
FACSIMILE: (856) 667-1456

                          IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEW JERSEY

In Re:
                                                        Chapter 13
      Carlos Benvennutti, Jr and Vernice L.
      Tolliver-Benvennutti aka Vernice L Tolliver       Case Number: 18-28608-ABA

         Debtor(s)                                      Judge: Andrew B. Altenburg, Jr.

OBJECTION OF VILLAGE CAPITAL & INVESTMENT, LLC TO DEBTOR’S CHAPTER 13
 PLAN WITH RESPECT TO REAL PROPERTY LOCATED AT 2402 BRANDEIS AVENUE,
                          RIVERTON, NJ 08077

        Village Capital & Investment, LLC (hereinafter, “Creditor”), through its Counsel, Stern &
Eisenberg, PC, respectfully requests that this Honorable Court deny confirmation of the Chapter 13
Plan filed by Debtor Carlos Benvennutti, Jr and Vernice L. Tolliver-Benvennutti aka Vernice L Tolliver
(hereinafter, “Debtor”). In support thereof, Creditor respectfully represents as follows:

            1. On May 27, 2012, Debtor signed a note and mortgage in the principal sum of
               $183,584.00, evidencing a loan from Carlos Benvenutti and Vernice Tolliver-Benvenutti
               in the same amount, secured by the real property located at 2402 Brandeis Avenue,
               Riverton, NJ 08077 (hereinafter, the “Property”), as evidenced by a mortgage recorded
               with the Clerk of Burlington County on June 25, 2012 in Book OR-13016 at Page 5508
               as Instrument No. 4897078.

            2. Creditor is the holder of the note and assignee of the mortgage.

            3. Debtor filed a Chapter 13 Bankruptcy Petition on September 18, 2018 and as a result,
               any State Court proceedings were stayed.

            4. Creditor objects to Debtor's proposed Chapter 13 Plan (hereinafter, the “Plan”) for the
               following reasons:

                     a) The Plan is infeasible in that the Plan:

                            i. Is underfunded and does not provide sufficient funds to pay the claims.

                            ii. Does not provide for sufficient funds to Creditor in order to cure the pre-
                                petition arrears due to Creditor in the amount of $20,376.64. (which is
                                the approximate amount subject to the actual amount stated in the final
                             filed Proof of Claim).

                  b) The Plan does not adequately provide for post-petition payments in the monthly
                     amount of $7,702.62.

          5. Further, the Debtor's Schedule D indicates a valuation of the property in the amount of
             $203,400.00, with Movant's first lien against the property in the amount of $176,118.60.
             Accordingly, there is little to no equity in the Property and the Property is not necessary
             for an effective reorganization.

          6. By proposing to pay Creditor as proposed, the Plan violates the standards of 11 USC §
             1325(a)(5)(B)(i) and (ii) because it pays Creditor less than the allowed amount of such
             claim.

          7. This Objection is made in accordance with the Federal Rules of Bankruptcy Procedure.

       WHEREFORE, Creditor, Village Capital & Investment, LLC by and through its Counsel, Stern
& Eisenberg, PC, respectfully requests that this Honorable Court deny confirmation of the Chapter 13
Plan and dismiss the Chapter 13 Bankruptcy Petition together with such other relief this Court deems
necessary and appropriate.

                                                      Respectfully Submitted:
                                                      Stern & Eisenberg, PC
                                                      By:_/s/ STEVEN P. KELLY, ESQ.____
                                                      STEVEN P. KELLY, ESQ.
                                                      Stern & Eisenberg, PC
                                                      1040 N. Kings Highway, Suite 407
                                                      Cherry Hill, NJ 08034
                                                      skelly@sterneisenberg.com
                                                      Phone: (609) 397-9200
                                                      Fax: (856) 667-1456
                                                      Bar Number: 010032010
Date: October 26, 2018                                Counsel for Movant
STEVEN P. KELLY, ESQ.
STERN & EISENBERG, PC
1040 N. KINGS HIGHWAY, SUITE 407
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TELEPHONE: (609) 397-9200
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                        IN THE UNITED STATES BANKRUPTCY COURT
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In Re:
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         Debtor(s)                                  Judge: Andrew B. Altenburg, Jr.



            Recommended Local Form                     Followed             Modified


                                ORDER DENYING CONFIRMATION

         The relief set forth on the following page is hereby ORDERED.
(page 2)
Debtor: Carlos Benvennutti, Jr and Vernice L. Tolliver-Benvennutti aka Vernice L Tolliver

Case Number: 18-28608-ABA

Caption of Order: Order Denying Confirmation (and other relief)

       Upon the Motion of Village Capital & Investment, LLC, through its Counsel, Stern &
Eisenberg, PC, under the Bankruptcy Code and Rules of Bankruptcy Procedure as to the real property
located at 2402 Brandeis Avenue, Riverton, NJ 08077, and for good cause shown, it is:

       ORDERED that the confirmation of the Chapter 13 Plan is DENIED.
STEVEN P. KELLY, ESQ.
STERN & EISENBERG, PC
1040 N. KINGS HIGHWAY, SUITE 407
CHERRY HILL, NJ 08034
TELEPHONE: (609) 397-9200
FACSIMILE: (856) 667-1456

                       IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF NEW JERSEY


In Re:
                                                     Chapter 13
      Carlos Benvennutti, Jr and Vernice L.
      Tolliver-Benvennutti aka Vernice L Tolliver    Case Number: 18-28608-ABA

         Debtor(s)                                   Judge: Andrew B. Altenburg, Jr.

Memorandum of Law in Support of Objection of Village Capital & Investment, LLC to Chapter
 13 Plan. With Respect to Real Property Located at 2402 Brandeis Avenue, Riverton, NJ 08077

        The issues presented in the instant motion are not complicated. Therefore, no memorandum of
law is required.

                                                    Respectfully Submitted:
                                                    Stern & Eisenberg, PC
                                                    By:_/s/ Steven P. Kelly, Esq.______
                                                    Steven P. Kelly, Esq.
                                                    Stern & Eisenberg, PC
                                                    1040 N. Kings Highway, Suite 407
                                                    Cherry Hill, NJ 08034
                                                    skelly@sterneisenberg.com
                                                    Phone: (609) 397-9200
                                                    Fax: (856) 667-1456
                                                    Bar Number: 010032010
Date: October 26, 2018                              Counsel for Movant
STEVEN P. KELLY, ESQ.,
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                       IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF NEW JERSEY


In Re:
                                                      Chapter 13
      Carlos Benvennutti, Jr and Vernice L.
      Tolliver-Benvennutti aka Vernice L Tolliver     Case Number: 18-28608-ABA

         Debtor(s)                                    Judge: Andrew B. Altenburg, Jr.

                                   CERTIFICATE OF SERVICE

       I, STEVEN P. KELLY, ESQ., hereby certify that a true and correct copy of the within Objection to
the Chapter 13 Plan of Village Capital & Investment, LLC, together with Order and this Certificate,
was sent to the Debtor Counsel and the Trustee and all other required parties in accordance with the
Rules of Bankruptcy Procedure on the date set forth below.

                                             Respectfully submitted,

                                             STERN & EISENBERG, PC


                                                     By:_/s/ Steven P. Kelly, Esq.___________
                                                     Steven P. Kelly, Esq.
                                                     Stern & Eisenberg, PC
                                                     1040 N. Kings Highway, Suite 407
                                                     Cherry Hill, NJ 08034
                                                     skelly@sterneisenberg.com
                                                     Phone: (609) 397-9200
                                                     Fax: (856) 667-1456
                                                     Bar Number: 010032010
DATE: October 26, 2018                               Counsel for Movant
Service List:

                                                     Relationship of
       Name and Address of Party(ies) Served                                             Mode of Service
                                                  Party(ies) to the Case
Isabel C. Balboa
Cherry Tree Corporate Center                                                Hand-delivered
535 Route 38 - Suite 580                                                    Regular Mail
Cherry Hill, NJ 08002                                                       Certified mail/RR
                                                         Trustee            E-Mail
                                                                            Notice of Electronic Filing (NEF)
                                                                             Unless not a participant in ECF
                                                                            Other:__________________
                                                                           (as authorized by the Court*)
Brad J. Sadek
1315 Walnut Street                                                          Hand-delivered
Suite 502                                                                   Regular Mail
Philadelphia, PA 19107                                                      Certified mail/RR
                                                    Debtor Counsel          E-Mail
                                                                            Notice of Electronic Filing (NEF)
                                                                             Unless not a participant in ECF
                                                                            Other:__________________
                                                                           (as authorized by the Court*)
Carlos Benvennutti, Jr and Vernice L. Tolliver-
Benvennutti aka Vernice L Tolliver                                          Hand-delivered
2402 Brandeis Avenue                                                        Regular Mail
Riverton, NJ 08077                                                          Certified mail/RR
                                                        Debtors             E-Mail
                                                                            Notice of Electronic Filing (NEF)
                                                                             Unless not a participant in ECF
                                                                            Other:__________________
                                                                           (as authorized by the Court*)
